                                                     U.S. Department of Justice
                                                                                        Page 3
                                                     United States Attorney
My und                                               Southern District of New York
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                     April 29, 2025

BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

       The Government writes in response to the Court’s April 22, 2025 order seeking additional
information regarding the use of a pseudonym for Victim-3 at the upcoming trial in the above-
captioned matter. After conferring with Victim-3’s counsel, the Government understands that
Victim-3 does not wish to use a pseudonym during her testimony.


                                              Respectfully submitted,

                                              JAY CLAYTON
                                              United States Attorney

                                        By:      /s
                                              Maurene Comey / Meredith Foster /
                                              Emily A. Johnson / Christy Slavik /
                                              Madison Reddick Smyser / Mitzi Steiner
                                              Assistant United States Attorneys
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